            Case 2:18-mc-00064-RSL Document 17 Filed 11/22/21 Page 1 of 2



 1                                                      The Honorable Robert S. Lasnik
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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8
                                        AT SEATTLE
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10
     UNITED STATES OF AMERICA,                            NO. 2:18-MC-00064-RSL
11
                              Plaintiff,                  (2:99-CR-00177-RSL-1)
12
             v.
13
     NHU-MAI THI HUYNH,                                   Order to Disburse Funds to
14                                                        Defendant
             Defendant/Judgment Debtor,
15
           and
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     COSTCO WHOLESALE,
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                              Garnishee.
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19          Plaintiff United States of America (United States) has moved for an
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     order directing the Clerk of Court to disburse $14,225.37 currently in the
21
     Clerk’s possession, to Defendant/Judgment Debtor Nhu-Mai Thi Huynh
22
23   (Defendant). These funds were collected via this garnishment after

24   Defendant’s liability to pay restitution in Case No. 2:99-CR-00177-RSL-1
25   expired on April 28, 2020. See 18 U.S.C. § 3613(b). Accordingly, the funds
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     should be returned to the Defendant.
27
28


      ORDER TO DISBURSE FUNDS TO DEFENDANT                                 UNITED STATES ATTORNEY’S OFFICE
                                                                            700 STEWART STREET, SUITE 5220
     (US v. Nhu-Mai Thi Huynh, No. 2:18-MC-00064-RSL/                              SEATTLE, WA 98101
     2:99-CR-0177-RSL-1)                                                           PHONE: 206-553-7970
              Case 2:18-mc-00064-RSL Document 17 Filed 11/22/21 Page 2 of 2



 1            The Clerk is authorized and directed to draw a check on the funds
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     deposited with the Clerk of Court in the amount of $14,225.37, payable to
 3
     Nhu-Mai Thi Huynh and mail or deliver the check to Nhu-Mai Thi Huynh, at
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     her current address, which the U.S. Attorney’s Office shall supply to the
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 6   Clerk.

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 8
              DATED this 22nd day of November, 2021.
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10
11                                                      A
                                                        Robert S. Lasnik
12                                                      United States District Judge
13
14   Presented by:

15   s/ Kyle A. Forsyth
     KYLE A. FORSYTH, WSBA #34609
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     Assistant United States Attorney
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      ORDER TO DISBURSE FUNDS TO DEFENDANT                        UNITED STATES ATTORNEY’S OFFICE
                                                                   700 STEWART STREET, SUITE 5220
     (US v. Nhu-Mai Thi Huynh, No. 2:18-MC-00064-RSL/                     SEATTLE, WA 98101
     2:99-CR-0177-RSL-1)                                                  PHONE: 206-553-7970
